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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                                    CASE NO. 17-CV-23749-PAS

  MSP RECOVERY CLAIMS, SERIES LLC,
  a Delaware entity,

          Plaintiff,

  v.                                                          CLASS ACTION

  ACE AMERICAN INSURANCE
  COMPANY, a foreign profit corporation,

        Defendant.
  __________________________________/

                              PLAINTIFF’S THIRD AMENDED
                         CLASS ACTION COMPLAINT FOR DAMAGES

          Plaintiff, MSP Recovery Claims, Series LLC, a Delaware entity (“Plaintiff”), on behalf of

  itself and all others similarly situated, brings this action against Ace American Insurance

  Company, a foreign profit corporation (“Defendant”), and states as follows:

                                    NATURE OF THE ACTION

          1.       Plaintiff is an entity that obtains claims via assignment for reimbursement from

  Medicare Advantage Organizations (“MAOs”), first-tier entities, and downstream entities (the

  “Assignors”) that offer or manage Medicare Advantage (“MA”) plans for Part C Medicare

  beneficiaries.

          2.       Defendant is an insurance company that provides liability insurance on behalf of

  its insured.

          3.       Under the MSP Act, liability insurance plans, workmen’s compensation law or

  plans, and no-fault insurance are considered primary plans. 42 U.S.C. § 1395y(b)(2). A primary



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  plan is obligated by law to pay prior to a Medicare Payer or otherwise reimburse a Medicare Payer

  that has paid for those items and services that were required to be paid by the primary payer by

  virtue of a contractual obligation or settlement.

         4.      When a Medicare beneficiary is injured and enters into a settlement with a liability

  insurer, Defendant is considered a primary payer by virtue of entering into said settlements.

         5.      Defendant is also considered a primary payer because it has a contractual obligation

  under its no-fault insurance policies to provide coverage for its insureds. As a primary payer,

  Defendant is required to pay first for medical items and services that are covered by concurrent

  Medicare coverage (or an MA plan). Further, anytime Medicare (or an MAO) “makes a payment

  that a primary plan was responsible for, the payment is merely conditional” by operation of law.

  Fanning v. United States, 346 F.3d 386, 389 (3d Cir. 2003).

         6.      Plaintiff has notified Defendant of instances wherein Defendant, as a primary

  payer, failed to provide primary payment or reimburse the Assignors for payments made on behalf

  of Medicare beneficiaries for medical items and services.

         7.      In each instance, a Medicare beneficiary enrolled in an MA plan was injured in an

  accident wherein (1) Defendant entered into a settlement with the Medicare beneficiary yet failed

  to reimburse the Assignors beneficiary’s medical expenses arising from an accident (“accident-

  related expenses”) or (2) Defendant was obligated to provide primary coverage for the accident-

  related expenses by virtue of a contractual obligation.

         8.      The Assignors made conditional payments on behalf of the injured persons to cover

  accident-related expenses for each accident.

         9.      The Assignors assigned its claims to the Plaintiff that included any claims pursuant

  to the the MSP Act as well as any State and Federal causes of action. Plaintiff is currently assignee



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  and otherwise owns and holds title to these claims.

         10.     The Assignors are secondary payers, and Defendant is a primary plan with

  obligations to reimburse the Assignors for their conditional payments made.

         11.     Defendant’s responsibility to reimburse Plaintiff and the Assignors is demonstrated

  by (1) entering into a settlement agreement with the injured Medicare beneficiary and (2) insurance

  contracts that required Defendant to pay the injured persons’ accident-related expenses. These

  injured Medicare Beneficiaries are the exact beneficiaries for which Plaintiff’s assignors had to

  bear the financial loss of having to absorb the costs of the items and services that should have been

  paid by the Defendant in this case. In each of the cases, the Defendant either settled a case and

  paid a Medicare Beneficiary or had a contractual obligation to cover the items and services that

  were incurred by the Plaintiff’s Assignors.

         12.     The class representative in this matter is the Plaintiff – MSP Recovery Claims,

  Series LLC.

         13.     Plaintiff’s Assignors, as Medicare secondary payers, have standing under 42 U.S.C.

  § 1395y(b)(3) to bring this private cause of action to recover double damages from Defendant, as

  the primary payer, because the Assignors made conditional payments or otherwise became

  financially responsible on behalf of its MA enrollees, for which Defendant was primarily liable

  and for which it did not reimburse Plaintiff’s Assignors.

         14.     On behalf of itself and the Class, Plaintiff seeks: (1) double damages under the MSP

  Act for Defendant’s failure to properly reimburse conditional payments for Enrollees’ accident-

  related medical expenses within the applicable limitations period; and (2) reimbursement for all

  sums, on a fee-for-service basis, that Plaintiff’s Assignors and Class Members were billed for

  medical care and treatment rendered to the Enrollees within the applicable limitations period, for



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  which Defendant was responsible as primary payer.

                     PLAINTIFF’S CLASS REPRESENTATIVE CLAIM
                   RELATING TO A MEDICARE PART C BENEFICIARY

         15.     In this Complaint, Plaintiff outlines three different instances where a Medicare

  Part C Beneficiary that incurred accident-related expenses that were to be paid by the Defendant

  for which the Defendant failed to pay or reimburse.

  The E.F. Claim Wherein Plaintiff’s Assignor, Health Care Advisor Services, Inc. Suffers an
  Injury-In-Fact

         16.     On September 29, 2014, E.F., a Medicare beneficiary, was injured in a slip and

  fall accident. Pursuant to Medical Payments (“Med Pay”) coverage, Defendant was contractually

  obligated to provide primary coverage for accident-related expenses. E.F.’s injuries include, but

  are not limited to (the complete list is attached hereto as Exhibit A, Claims Data):

                 a. E885.91 - Fall from other slipping, tripping, or stumbling,

                 b. 959.2 - Shoulder and upper arm injury,

                 c. 847.9 - Sprain of unspecified site of back, etc.

         17.     As a direct and proximate result of this accident and the injuries listed above, E.F.

  required medical items and services. E.F. was enrolled in an MA plan, managed by Health Care

  Advisor Services, Inc. (“Health Care Advisor Services”). E.F.’s medical expenses were

  subsequently charged to Health Care Advisor Services for the medical services that E.F. received

  from September 29, 2014 to October 18, 2014. These items and services have caused Health

  Care Advisors an actual monetary loss. Despite the Defendant being fully aware it was the

  primary payer, the Defendant has failed to reimburse for the items and services for which




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   Federal regulations require that medical data be maintained in electronic data sets. 45 C.F.R. §
  162.1000, et. seq.; 42 C.F.R. § 424.3.
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  Plaintiff currently owns right, title and interest to these rights of reimbursement.

         18.     Defendant should have paid for these expenses or should have reimbursed for the

  items and services so that Health Care Advisor Services had to cover financially for E.F.’s

  medical, but Defendant failed to do so.

         19.     Defendant’s failure to pay and reimburse gives rise to statutory and common-law

  rights to recover these conditional payments from Defendant.

         20.     Health Care Advisor Services’ right to recover its payments for these medical

  services was assigned to Plaintiff.

         21.     E.F. received the following medical items and services, which include but are not

  limited to (the complete list is attached hereto as Exhibit A):

                 a. ||73030|X-ray exam of shoulder [A],

                 b. 73564        X-ray exam knee 4 or more [A]

                 c. ||73562|X-ray exam of knee 3 [A]

                 d. ||71020|Chest x-ray 2vw frontal&latl, etc.

         22.     Plaintiff’s assignor, Health Care Advisor Services, was charged $29,883.14 that

  Defendant should have paid or otherwise should have reimbursed the Plaintiff as the owner of

  the rights to receive reimbursement on the secondary payments.

         23.     For this one claim, separate and apart from all damages owed to the rest of the

  class and Plaintiff, Defendant is required to pay Plaintiff up to the limits of its policy times two

  to cover all or as much of the of $29,883.14 amount for the accident-related expenses.

  The D.G. Claim Wherein Plaintiff’s Assignor, MMM Holdings, LLC, Suffers an Injury-In-
  Fact

         24.     On December 3, 2014, D.G., a Medicare beneficiary, was injured in an accident

  whereby Defendant was the general liability insurer for the tortfeasor. D.G.’s injuries include,

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  but are not limited to (the complete list is attached hereto as Exhibit B, Claims Data):

                a. E849.5 - Street and highway accidents,

                b. E888.8 - Other fall,

                c. 959.3 - Elbow, forearm, and wrist injury, etc.

          25.      As a direct and proximate result of this accident, D.G. required medical items

  and/or services. D.G. was enrolled in a MA plan, managed by MMM Holdings, LLC (“MMM”).

  D.G.’s medical expenses were subsequently paid by MMM for dates of service of December 3,

  2014 through December 16, 2014.

          26.      Following D.G.’s claim against Defendant’s insured, Defendant indemnified its

  insured Tortfeasor and made payments pursuant to a settlement of D.G.’s claims. However,

  Defendant did not reimburse Plaintiff or MMM for D.G.’s medical items and services within the

  requisite time frame, as required of a primary payer. Defendant’s failure to pay and reimburse

  gives rise to statutory and common-law rights to recover these conditional payments from

  Defendant.

          27.      MMM’s right to recover its payments for these medical services was assigned to

  Plaintiff.

          28.      D.G. received the following medical items and services, which include but are not

  limited to (the complete list is attached hereto as Exhibit B):

                a. 73100 X-ray exam of wrist [A]

                b. 73030 X-ray exam of shoulder [A]

                c. 73060 X-ray exam of humerus [A]

                d. 99283 Emergency dept visit [A], etc.

          29.      Plaintiff’s assignor, MMM, was charged $1,892.84, that Defendant should have



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  paid or otherwise should have reimbursed to Plaintiff as the owner of the rights to receive

  reimbursement on the secondary payments.

         30.      For this one claim, Defendant owes Plaintiff $1,892.84 for all accident-related

  expenses.

  The R.C. Claim Wherein Plaintiff’s Assignor, Hygea Holdings Corp., Suffers an Injury-In-
  Fact

         31.      On September 6, 2012, R.C., a Medicare beneficiary, was injured in an accident

  whereby Defendant was the general liability insurer for the tortfeasor. R.C.’s injuries include, but

  are not limited to (the complete list is attached hereto as Exhibit C, Claims Data):

               a. 881.00 - Open wound of forearm, without mention of complication, etc.

         32.      As a direct and proximate result of this accident, R.C. required medical items

  and/or services. R.C. was enrolled in a MA plan, managed by Hygea Holdings Corp (“Hygea”).

  R.C.’s medical expenses were subsequently paid by Hygea for dates of service of September 9,

  2012. Hygea was financially responsible for each of the Medicare Part C Beneficiaries assigned

  to it. R.C. is one of those beneficiaries. The MA plan requires that Hygea be financially

  responsible for all items and services provided to any of it assigned beneficiaries. This

  arrangement was approved by CMS pursuant to the code of federal regulations.

         33.      Following R.C.’s claim against Defendant’s insured, Defendant indemnified its

  insured Tortfeasor and made payments pursuant to a settlement of R.C.’s claims. However,

  Defendant did not reimburse Plaintiff or Hygea for R.C.’s medical items and services within the

  requisite time frame, as required by a primary payer. Defendant’s failure to pay and reimburse

  gives rise to statutory and common-law rights to recover these conditional payments from

  Defendant. Furthermore, the Defendant provided for Med Pay coverage that required payment

  irrespective of fault to the Medicare Beneficiary. The defendant admitted it was required to

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  make the payment, but never did.

         34.      Hygea’s right to recover its payments for these medical services was assigned to

  Plaintiff. Hygea suffered an economic loss by virtue of having to cover the expenses that were

  incurred by R.C.

         35.      R.C. received the following medical items and services, which include but are not

  limited to (the complete list is attached hereto as Exhibit C):

               a. 99212 Office/outpatient visit est [A], etc.

         36.      Plaintiff’s assignor, Hygea, was charged $1,227.48 that Defendant should have

  paid or otherwise should have reimbursed the Plaintiff as the owner of the rights to receive

  reimbursement on the secondary payments.

         37.      For this one claim, Defendant owes Plaintiff $1,227.48 amount for all accident-

  related expenses.

         38.      The factual allegations regarding E.F., D.G., and R.C.’s claims were identified by

  Plaintiff using various databases and claims data.

         39.      Defendant reported its responsibility as an RRE to CMS2, including information

  about E.F., D.G., and R.C.’s accidents, the name of the reporting entity, and the type of insurance

  offered. This reporting demonstrates Defendant was aware of the accident and even assigned claim

  numbers to said accident. [See Exhibit E, MyAbility Reports].

         40.      On August 22, 2017, Plaintiff transmitted a letter to Defendant requesting

  information related to potential reimbursements to Plaintiff’s assignors as mandated by 42 C.F.R.



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   Plaintiff has identified at least 38 instances where Defendant has entered into settlements
  with Medicare beneficiaries. Plaintiff has identified at least 28 instances where Defendant
  admitted it was to provide primary payment on behalf of Enrollees. Plaintiff attaches a list of
  such instances. [See Exhibit D, Defendant’s MSP Reporting].
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  § 411.25. Thus, Defendant had actual and constructive knowledge that it was the primary payer

  for all the Enrollees that were paid by the in-network providers of Plaintiff’s assignors. Defendant

  was required to ascertain the information for each enrollee in accordance with 42 C.F.R. § 411.25

  and supply the information to Plaintiff’s assignors and/or Plaintiff as requested. However, on

  September 19, 2017, Defendant responded to Plaintiff’s letter refusing to comply. On October 6,

  2017, Plaintiff replied to Defendant’s September 19 letter. [See Exhibit F, 42 C.F.R. § 411.25

  Letters].

          41.    Plaintiff then cross-referenced Defendant’s information reported to CMS and ISO

  with the claims data provided by Health Care Advisor Services, MMM, and Hygea. Plaintiff

  identified settlement agreements with Defendant whereby D.G. and R.C. were involved in an

  accident and incurred medical expenses as a result and MMM and Hygea provided payment for

  accident-related expenses. Further, Plaintiff identified the E.F. claim wherein E.F. was involved

  in an accident and incurred medical expenses as a result. Plaintiff determined that Defendant was

  to provide primary payment for E.F.’s accident-related expenses, instead of Health Care Advisor

  Services. Thus, there is evidence of overlapping coverage and evidence that the payments were

  made by a Medicare Part C payer instead of the primary payer, demonstrating an injury-in-fact as

  the payer or full-risk entity has been financially damaged by Defendant’s failure to pay or

  reimburse. And, based on the nature of the medical treatment and Defendant’s failure to reimburse

  Health Care Advisor Services, MMM, and Hygea for those medical expenses, the data

  demonstrates that Defendant failed to pay for the claims of E.F., D.G., and R.C. as a primary payer.

          42.    Full details of this claim, i.e., specific payments, coverage determinations, etc.,

  are in Defendant’s possession and will be located and assessed through the process of discovery.

  Defendant was and is in the best position to know which payments have been made by Plaintiff’s



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   Assignors because the MAOs and its in-network providers frequently will not know which of its

   payments has been subsequently duplicated by an insurer. See U.S. v. Baxter Int’l, Inc., 345 F.3d

   866, 885 (11th Cir. 2003) (the MSP Act “is built on the recognition that Medicare frequently

   will not know which of its payments has been subsequently duplicated by an insurer. . .”).

   Defendant has failed to provide forthcoming data to provide the full extent of its primary payer

   obligations.

                                     JURISDICTION AND VENUE

           43.     This Court has jurisdiction over the subject matter of this action under 28 U.S.C. §

   1331 (federal question).

           44.     Venue is proper under 28 U.S.C. § 1391 in the United States District Court for the

   Southern District of Florida because it is the district in which the cause of action accrued.

           45.     This Court has personal jurisdiction over Defendant insofar as the Defendant is

   authorized and licensed to conduct business in Florida, maintain and carry on systematic and

   continuous contacts in this judicial district, regularly transact business within this judicial district,

   and regularly avail themselves of the benefits in this judicial district.

           46.     All conditions precedent to this action have occurred, been performed, or have been

   waived, including meeting any purported threshold amount to the extent that is applicable.

                                                 PARTIES

           47.     Plaintiff, MSP Recovery Claims, Series LLC, is a Delaware series limited liability

   company with a principle place of business located at 5000 S.W. 75th Avenue, Suite 400, Miami,

   Florida 33155. Plaintiff has established various Specific series wherein each specific Series is

   owned exclusively by MSP Recovery Claims, Series, LLC. The specific Series have been

   designated with specific characteristics to identify the specific assignors assigning to Plaintiff. All



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   specific Series form a part of Plaintiff and owned by Plaintiff. Plaintiff’s limited liability company

   agreement provides for the establishment of one or more specific Series. The records maintained

   for such Series account for the assets associated with such specific Series. All records of all Series

   are maintained together with all assets of the limited liability company. The limited liability

   company agreement provides that there are no limitations on liabilities of any Series. Pursuant to

   its limited liability agreement and applicable amendment(s), Plaintiff owns and controls any and

   all Series interests and all claims rights transferred from any assignor and may allocate any assets,

   including assignments, to a Series. Plaintiff’s limited liability agreement provides that any rights

   and benefits arising from assignments to its series shall belong to Plaintiff.

          48.     Numerous assignors have assigned their recovery rights to assert the causes of

   action alleged in this Complaint to series LLCs of the Plaintiff, and Plaintiff maintains the legal

   right, by and through its limited liability company agreement, to sue on behalf of each of its

   designated series LLCs. As such, Plaintiff has the right and authority to seek reimbursement of

   Medicare payments made by the assignors that should have been paid, in the first instance, by

   Defendant.

          49.     Plaintiff may pursue and enforce all legal rights of recovery and reimbursement for

   health care services and Medicare benefits provided by health care organizations that administer

   Medicare benefits for beneficiaries under Medicare Part C; whether said rights arise from (i)

   contractual agreements, such as participation and network agreements with capitation and risk

   sharing arrangements, and/or (ii) state and federal laws that provide for the reimbursement of

   conditional payments made by the assignor health plans, including the right to recover claims for

   health care services billed on a fee-for-service basis.

          50.     Defendant is an insurance company that is authorized to conduct business in the



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   State of Florida.

              51.     Complete diversity exists between the parties.

                      CLASS REPRESENTATIVE ASSIGNMENT AGREEMENTS

              52.     Plaintiff’s assignors have executed irrevocable assignments of any and all rights to

   recover conditional payments made on behalf of Assignors’ health plan members and Enrollees,

   including those who were insured by Defendant. The specific assignment language contained in

   the assignment agreements from Health Care Advisor Services, MMM, and Hygea, three of the

   representative claims in this lawsuit, are set forth below. For each of these claims, the Assignors

   were financially responsible financially to cover all of the items and services. Each entity is either

   an MAO, first tier entity, downstream entity (or its assignees) approved by CMS to bear the risk

   of loss.

              53.     By agreement dated August 28, 2015, Health Care Advisor Services irrevocably

   assigned to MSP Recovery, LLC (“MSP Recovery”) any and all of its right to recover conditional

   payments made on behalf of its Enrollees (“Health Care Advisor Services Assignment”):

              Client hereby assigns, transfers, conveys, sets over and delivers to MSP Recovery,
              or its assigns, any and all of Client’s right, title, ownership and interest in and to all
              rights and entitlements, and all information used to pursue and/or recover monies
              for Client that Client has, may have had, or has asserted against any party
              (“Assigned Claims”). This includes, but is not limited to, primary payors and/or
              third parties that may be liable to Client arising from or relating to the Assigned
              Claims.

   [Exhibit G, § 4.1, Health Care Advisor Services-MSP Recovery Assignment] (emphasis added).

              54.     On June 12, 2017, MSP Recovery assigned all rights acquired from the Health Care

   Advisor Services Assignment to a protected series of Plaintiff, i.e., Series 15-08-27 LLC.

              55.     Specifically, the assignment from MSP Recovery to the protected series states:

              [E]ach undersigned Assignor… irrevocably assigns, sells, transfers, conveys, sets
              over and delivers to Assignee and its successors and assigns, any and all of

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          Assignor’s right, title, ownership and interest in and to the “Assigned Claims”,
          “Claims”, Assigned Assets” and “Assigned Documents” (and all proceeds and
          products thereof) as such terms are defined in the…Recovery Agreement dated
          August 28, 2015, each by and among Health Care Advisors Services, Inc., a
          Florida corporation (the “Client”), and MSP Recovery, LLC, a Florida limited
          liability company.

   [Exhibit H, MSP Recovery-Plaintiff Assignment]

          56.      By agreement dated June 12, 2017, MMM irrevocably assigned to MSP Recovery

   any and all of its right to recover conditional payments made on behalf of its Enrollees (“MMM

   Assignment”):

          Client hereby irrevocably assigns, transfers, conveys, sets over and delivers to MSP
          Recovery, and any of its successors and assigns, any and all of Client’s right, title,
          ownership and interest in and to all Claims existing on the date hereof, whether
          based in contract, tort, statutory right, and any and all rights (including, but not
          limited to, subrogation) to pursue and/or recover monies for Client that Client had,
          may have had, or has asserted against any party in connection with the Claims and
          all rights and claims against primary payers and/or third parties that may be liable
          to Client arising from or relating to the Claims… all of which shall constitute the
          “Assigned Claims”. The transfer, grant, right, or assignment of any and all of
          Client’s right, title, ownership, interest and entitlements in and to the Assigned
          Claims shall remain the confidential and exclusive property of MSP Recovery or
          its assigns. This assignment is irrevocable and absolute.

   [Exhibit I, § 4.1, MMM-MSP Recovery Assignment].

          57.      On June 12, 2017, MSP Recovery assigned all rights acquired from the MMM

   Assignment to a protected series of Plaintiff, i.e., Series 17-02-554 LLC.

          58.      Specifically, the assignment from MSP Recovery to the protected series states:

          [E]ach undersigned Assignor… irrevocably assigns, sells, transfers, conveys, sets
          over and delivers to Assignee and its successors and assigns, any and all of
          Assignor’s right, title, ownership and interest in and to the “Assigned Claims”,
          “Claims”, Assigned Assets” and “Assigned Documents” (and all proceeds and
          products thereof) as such terms are defined in the Recovery Agreement dated June
          12, 2017, by and among MMM Holdings, LLC, a Puerto Rican limited liability
          company (the “Client”), and MSP Recovery, LLC, a Florida limited liability
          company (the “Agreement”).

   [Exhibit J, MSP Recovery-Plaintiff Assignment].

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          59.     By agreement dated September 15, 2015, Hygea irrevocably assigned to MSP

   Recovery any and all of its right to recover conditional payments made on behalf of its Enrollees

   (“Hygea Assignment”):

          Client hereby irrevocably assigns, transfers, conveys, sets over and delivers to MSP
          Recovery, or its assigns, any and all of Client’s right, title, ownership and interest
          in and to all rights and entitlements, and all information and data used to pursue
          and/or recover monies for Client that Client has, may have had, or has asserted
          against any party including, but not limited to, primary payors and/or third parties
          that may be liable to Client arising from or relating to the Assigned Claims. By this
          Agreement, the parties acknowledge and agree to the following: (i) the transfer,
          grant, or assignment of any and all Client’s right, title, ownership, interest and
          entitlements, and/or any information Client makes available, assigns, transfers,
          conveys or delivers to MSP Recovery is proprietary, confidential and the sole
          property of MSP Recovery or its assigns, and (ii) it shall remain the sole and
          exclusive property of MSP Recovery, and (iii) shall survive the termination or
          expiration of this Agreement, notwithstanding anything herein to the contrary.

   [Exhibit K, § 1.1, Hygea-MSP Recovery Assignment] (emphasis added).

          60.     On June 12, 2017, MSP Recovery assigned all rights acquired from the Hygea

   Assignment to a protected series of Plaintiff, i.e., Series 15-08-19 LLC.

          61.     Specifically, the assignment from MSP Recovery to the protected series states:

          [E]ach undersigned Assignor… irrevocably assigns, sells, transfers, conveys, sets
          over and delivers to Assignee and its successors and assigns, any and all of
          Assignor’s right, title, ownership and interest in and to the “Assigned Claims”,
          “Claims”, Assigned Assets” and “Assigned Documents” (and all proceeds and
          products thereof) as such terms are defined in the... Health Care Cost Recovery
          Agreement dated September 14, 2015, by and among Hygea Health Holdings,
          Inc., a Florida corporation (the “Client”), and MSP Recovery, LLC, a Florida
          limited liability company (the “Agreement”).
   [Exhibit L, MSP Recovery-Plaintiff Assignment].


          62.     All purported conditions precedent to the filing of this lawsuit have occurred or

   been performed.

          63.     Pursuant to Plaintiff’s limited liability agreement, all rights arising from the

   assignment to its series, along with the right to bring any lawsuit in connection with said

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   assignment, belongs to Plaintiff. Therefore, Plaintiff may pursue Health Care Advisor Services,

   MMM, and Hygea’s rights to recover reimbursement of Medicare payments that should have been

   paid, in the first instance, by Defendant.

                                       LEGAL BACKGROUND

   I.    The Medicare Act

          64.     In 1965, Congress enacted the Medicare Act with the purpose of establishing a

   federally-funded health insurance program for the elderly and disabled.

          65.     The Medicare Act consists of five parts: Part A, Part B, Part C, Part D, and Part E.

   Parts A and B create, describe, and regulate traditional fee-for-service, government-administered

   Medicare. See 42 U.S.C. §§ 1395c to 1395i–5; §§ 1395–j to 1395–w. Under Parts A and B,

   Medicare provides hospital insurance and coverage for medically necessary outpatient and

   physician services. 42 U.S.C. § 1395w-21(a)(1)(A). These benefits are administered on a per-fee

   basis, meaning Medicare pays for a beneficiary’s medical needs as they arise. The United States

   Centers of Medicare & Medicaid Services (“CMS”) provides coverage under Parts A & B. Part C

   outlines the Medicare Advantage program—described in further detail below—wherein Medicare

   beneficiaries may elect to use private insurers, i.e., MAOs, paid for by the United States, to provide

   Medicare benefits. 42 U.S.C. §§ 1395w–21–29. Part D provides for prescription drug coverage

   for Medicare beneficiaries, and Part E contains various miscellaneous provisions.

   II.   Medicare Secondary Payer Laws

          66.     At the time of its inception, Medicare was the primary payer of medical costs.

   When a Medicare beneficiary was injured, the medical bill was submitted directly to Medicare,

   even if there was overlapping insurance coverage for that patient. However, in an effort to reduce

   escalating costs, Congress altered the Medicare payment scheme in 1980 by adding the Medicare



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   Secondary Payer (“MSP”) provisions to the Medicare Act.

          67.     The Medicare Secondary Payer (MSP) statute, codified at 42 U.S.C. § 1395y,

   declares that, under certain conditions, Medicare will be the secondary rather than primary payer

   for its insureds, and, consequently, Medicare is empowered to recoup from the rightful primary

   payer, or from the recipient of such payment, if Medicare pays for a service that was, or should

   have been, covered by the primary insurer. Under the MSP provisions, codified at 42 U.S.C. §

   1395y, Medicare is the “secondary payer” to all other sources of coverage. If there is overlapping

   insurance coverage for a particular beneficiary, that overlapping coverage is primary, i.e., it pays

   the medical expense first—Medicare is always secondary.

          68.     The MSP is actually a collection of statutory provisions codified during the 1980s

   with the intention of reducing federal health care costs. In a nutshell, the MSP declares that, under

   certain conditions, Medicare will be the secondary rather than primary payer for its insureds.

   Consequently, Medicare is empowered to recoup from the rightful primary payer (or from the

   recipient of such payment) if Medicare pays for a service that was, or should have been, covered

   by the primary insurer. Although the statute is structurally complex—a complexity that has

   produced considerable confusion among courts attempting to construe it—the MSP’s function is

   straightforward.

          69.     To enforce this scheme, the MSP provisions created “a private cause of action for

   damages (which shall be in an amount double the amount otherwise provided) in the case of a

   primary plan which fails to provide for primary payment (or appropriate reimbursement)[.]” 42

   U.S.C. § 1395y(b)(3)(A).

          70.     Defendant is a primary plan under § 1395y(b)(2)(A) because it is a liability insurer

   that, under a settlement agreement, paid Enrollees for covered medical expenses. See 42 U.S.C. §



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   1395y(b)(2)(A) (defining “primary plan” to include a group health plan or large group health

   plan…a workmen’s compensation law or plan, an automobile or liability insurance policy or plan

   (including a self-insured plan) or no-fault insurance); 42 C.F.R. § 411.21 (same).

   III. Medicare Advantage Organizations

          71.     In 1997, Congress amended the Medicare Act and added Part C. “The congressional

   goal in creating the Medicare Part C option was to harness the power of private sector competition

   to stimulate experimentation and innovation to create a more efficient and less expensive Medicare

   system.” D. Gary Reed, Medicare Advantage Misconceptions Abound, 27 Health Law 1, 3 (2014).

   Part C gives Medicare beneficiaries the option of receiving Medicare benefits through private

   insurers (i.e., MAOs).3

          72.     MAOs enter into a contract with CMS to administer and provide the same benefits

   received under traditional Medicare. 42 U.S.C. §§ 1395w-21, 1395w-23. Pursuant to this contract,

   MAOs receive a fixed payment from CMS for each enrollee. MAOs do not issue a Medicare

   “insurance policy” but, rather, send out a document describing the Medicare benefits that

   beneficiaries receive. They do not pay benefits pursuant to a ‘policy’, but rather under a statutory

   framework. Thus, MAOs pay healthcare providers directly for the care received by Part C

   beneficiaries. If the costs of this care exceed the fixed payment received from the government, the

   MAO assumes the risk and cost. However, if that care costs less than the fixed payment, the MAO

   keeps the difference as profit. Thus, MAOs are incentivized to provide health insurance more

   efficiently and focus on positive health outcomes in a way that traditional fee-for-service Medicare

   models are not. See H.R.Rep. No. 105–149, at 1251 (1997) (Part C allows “the Medicare program




   3
    Originally, these plans were considered “Medicare+Choice” plans, but the Medicare
   Modernization Act (MMA) of 2003 renamed this service “Medicare Advantage” plans.
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   to utilize innovations that have helped the private market contain costs and expand health care

   delivery options.”).

          73.     To become an MAO, a private insurer must enter a bidding process, meeting certain

   requirements set by CMS. Additionally, in providing the basic benefits offered to traditional

   Medicare beneficiaries, MAOs must abide by coverage determinations provided by CMS and all

   coverage disputes between beneficiaries and MAOs must go through the traditional Medicare

   appeals process. CMS sets the fixed rate at which MAOs will be remunerated per enrollee and

   establishes services the MAO must provide.

          74.     An enrollee’s health coverage with an MAO is strictly construed and regulated by

   CMS. For instance, CMS creates templates that MAOs must utilize when creating documents,

   including among others, the evidence of coverage (“EOC”), a document that describes in detail

   the health care benefits covered by the health plan. CMS requires that every evidence of coverage

   contain the following language:

          We have the right and responsibility to collect for covered Medicare services for
          which Medicare is not the primary payer. According to CMS regulations at 42 CFR
          §§ 422.108 and 423.462, [insert 2017 plan name], as a Medicare Advantage
          Organization, will exercise the same rights of recovery that the Secretary exercises
          under CMS regulations in subparts B through D of part 411 of 42 CFR and the rules
          established in this section supersede any State laws.

          75.     The amount paid to the MAO is carefully calibrated, taking into account, such

   factors as the geographic location, age, disability status, gender, institutional status, and health

   status of each Medicare Advantage enrollee, so as to ensure actuarial equivalence with the

   traditional Medicare fee-for-service program option. See 42 U.S.C. § 1395w-23(c).

          76.     Currently, there are over 16 million individuals enrolled in Medicare Advantage

   plans nationwide. More than 37 million individuals are enrolled in Medicare prescription drug

   plans (“PDPs”), either on a stand-alone basis or in connection with a Medicare Advantage plan.

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            77.     The size and expense of the Medicare Advantage program makes it important that

   insurance companies, like Defendant, do not deflect their financial obligations under the MSP law

   onto MAOs and ultimately onto the Medicare Trust Funds.4

            78.      Beneficiaries who receive their benefits through the traditional Medicare scheme

   and those who elect to receive their benefits through an MAO plan are all considered Medicare

   beneficiaries. Moreover, the MSP provisions apply with equal force to MAOs. Indeed, MAOs

   are specifically allowed to “exercise the same rights to recover from a primary plan, entity, or

   individual that the Secretary exercises under the MSP regulations[.]” 42 C.F.R. § 422.108(f).

            79.     The legislative history of the MSP provisions demonstrate that MAOs were

   intended to occupy a status analogous to that of traditional Medicare:

            Under original fee-for-service, the Federal government alone set the legislative
            requirements regarding reimbursement, covered providers, covered benefits and
            services, and mechanisms for resolving coverage disputes. Therefore, the Conferees
            intend that this legislation provide a clear statement extending the same treatment to
            private [MA] plans providing Medicare benefits to Medicare beneficiaries.
   H.R. Rep. No. 105–217, at 638 (1997).
            80.     Part C of the Medicare Act also contains the following important provisions:

            Notwithstanding any other provision of law, a Medicare+Choice organization may
            (in the case of the provision of items and services to an individual under a
            Medicare+Choice plan under circumstances in which payment under this subchapter
            is made secondary pursuant to section 1395y(b)(2) of this title) charge or authorize
            the provider of such services to charge, in accordance with the charges allowed
            under a law, plan, or policy described in such section—

            (A) the insurance carrier, employer, or other entity which under such law, plan, or
                policy is to pay for the provision of such services, or

            (B) such individual to the extent that the individual has been paid under such law,
                plan, or policy for such services.
   42 U.S.C. § 1395w–22(a)(4).



   4
       Medicare is paid for through two trust fund accounts held by the U.S. Treasury.
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          81.     Section 1395y(a)(1)(A) of the Medicare statute states that, “no payment may be

   made under [the Medicare statute] for any expenses incurred for items or services which … are

   not reasonable and necessary for the diagnosis or treatment of illness or injury.” 42 U.S.C. §

   1395y(a)(1)(A) (emphasis added).

          82.     Because this Section contains an express condition of payment—that is, “no

   payment may be made”—it explicitly links each Medicare payment to the requirement that the

   particular item or service be “reasonable and necessary.”

          83.     Once an MAO makes a payment for medical items and services on behalf of its

   beneficiaries, the payment is conclusive proof that the items and services were reasonable and

   necessary.

          84.     If a Medicare beneficiary or primary payer contests an MAO’s right to

   reimbursement, the claim is construed as “arising under” the Medicare Act. Therefore, the time

   limitations for contesting whether a claim is reasonable or necessary under the Medicare Act

   applies.

          85.     In this case, Defendant failed to administratively appeal the MAOs’ right to

   reimbursement within the administrative remedies period on a class-wide basis. Defendant,

   therefore, are time-barred from challenging the propriety or amounts paid.

          86.     Furthermore, the MSP provisions create a private cause of action against a primary

   plan when the primary payer fails to pay first or does not reimburse an MAO for its payment:

   “There is established a private cause of action for damages (which shall be in an amount double

   the amount otherwise provided) in the case of a primary plan which fails to provide for primary

   payment (or appropriate reimbursement) in accordance with [the requirements of the MSP Act].”

   § 1395y(b)(3)(A). The provisions do not place any limitations on which private parties may bring



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   suit.

   IV. Primary Payer Reporting Requirements

           87.    In 2007, the Medicare Act was once again amended by the Medicare, Medicaid and

   SCHIP Extension Act of 2007 (“MMSEA”), which aimed to improve the ability of CMS and

   MAOs to administer Medicare benefits. Part of those changes specifically aimed to help CMS and

   MAOs identify when a Medicare beneficiary was covered by a primary insurance payer.

           88.    The 2007 amendments, therefore, created an affirmative duty on primary payers,

   such as Defendant, to notify Medicare and MAOs when they should pay for medical expenses or

   be primary payers. Specifically, Responsible Reporting Entities (“RRE”), which include insurers

   like the Defendant, must determine whether its insureds are Medicare beneficiaries when they

   enter into settlement agreements with them. 42 U.S.C. §§ 1395y(b)(7)(A)(i)5 (RREs shall

   “determine whether a claimant (including an individual whose claim is unresolved) is entitled to

   benefits under” Medicare). If an insured is a Medicare beneficiary, the RRE must electronically

   notify CMS of the accident and report the Medicare beneficiary’s full name, Medicare Health

   Insurance Claim Number (“HICN”), gender, date of birth, complete address, and phone number.

   42 U.S.C. § 1395y(b)(7)(A)(ii).6 Then, when CMS or an MAO receives a medical claim for

   payment for that identified Medicare beneficiary/insured, the claim can be cross-checked against

   the notification database to determine whether there is a primary payer responsible for the medical

   claim. Anticipating the burden of the new reporting requirements, CMS developed a “query

   process” whereby an RRE can determine a claimant’s Medicare status electronically and without




   5
    See 42 C.F.R. § 411.25.
   6
    RREs are also required to notify CMS and MAOs when the RRE has made the determination to
   assume responsibility for ongoing medical services or items for one their insureds that is also a
   Medicare beneficiary.
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   authorization.    RREs can electronically query whether a particular insured is a Medicare

   beneficiary and, if so, make sure to notify Medicare when that insured is in an accident that resulted

   in the provision of medical treatment.

            89.     An insurance company’s failure to comply with these reporting requirements

   results in a civil money penalty of up to $1,000.00 for each day of noncompliance with respect to

   each claimant. 42 U.S.C. § 1395y(b)(8)(E)(i).

            90.     However, compliance with these reporting requirements does not absolve the

   primary payer of its obligation to pay first. The reporting requirements are separate and apart from

   a primary payer’s obligation to pay first under the MSP provisions. Reporting does not, itself,

   provide a safe harbor from making primary payments. It only avoids the imposition of civil

   penalties. If a primary payer was responsible to pay first, it must pay first regardless of conduct,

   intent, or even the primary payer’s knowledge of a potential secondary payer. The obligation of a

   primary payer to pay first or reimburse CMS or MAOs is only discharged by making the payment.

   V.      First-Tier and Downstream Entities

            91.     In addition to MAOs, first-tier and downstream entities also suffer damages, i.e. an

   injury-in-fact, when a primary plan fails to make a payment or reimburse pursuant to the MSP

   laws.

            92.     A first-tier entity is any party that enters into a written arrangement, acceptable

   to CMS, with an MAO, to provide administrative or health care services for a Medicare eligible

   individual under the MA program. 42 C.F.R. § 422.2; see also Medicare Managed Care Manual,

   Ch. 11 (Rev. 83, 04-25-07).

            93.     A downstream entity is any party that enters into a written arrangement, acceptable

   to CMS, with persons or entities involved with the MA benefit, below the level of the arrangement


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   between an MAO (or applicant) and a first-tier entity. See 42 C.F.R. § 422.2.

          94.     First-tier and downstream entities administer and provide Medicare services to the

   Enrollees. The first-tier and downstream entities bear the full risk of loss pursuant to their

   contractual obligation with MAOs.

          95.     First-tier and downstream entities include Management Service Organizations

   (“MSO”), and Independent Physician Associations (“IPA”), and other full-risk providers whom

   all have standing to bring suit under 42 U.S.C. § 1395y(b)(3)(A). See Mich. Spine & Brain

   Surgeons, PLLC v. State Farm Mut. Auto. Ins. Co., 758 F.3d 787, 789–90 (6th Cir. 2014) (holding

   that medical providers who suffer an injury-in-fact have standing to sue primary plans in violation

   of its MSP obligations under 42 U.S.C. § 1395y(b)(3)(A)).

                                        CLASS DEFINITION
          96.     The putative classes (hereinafter referred to as “Class Members”) are defined as:

   Class 1 – Settlement Class

          All Medicare Advantage Organizations, First Tier Entities, Downstream Entities or their
          assignees, that provide benefits under Medicare Part C, in the United States of America
          and its territories, who made payments for a Medicare beneficiary’s medical expenses
          where Defendant:

          (1) is the primary payer by virtue of having settled a claim with Medicare beneficiary
          enrolled in a MA plan;

          (2) settled a dispute to pay for personal injuries with a Medicare beneficiary enrolled in a
          MA plan; and

          (3) failed to reimburse Medicare Advantage Organizations, First Tier Entities,
          Downstream Entities or their assignees the payments provided for medical items and
          services related to the claims settled by the primary payer.

          This class definition excludes (a) Defendant, their officers, directors, management,
          employees, subsidiaries, and affiliates; and (b) any judges or justices involved in
          this action and any members of their immediate families.



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   Class 2 – Contractual Obligation Class

          All Medicare Advantage Organizations, First Tier Entities, or their assignees, that
          provide benefits under Medicare Part C, in the United States of America and its
          territories, who made payments for a Medicare beneficiary’s medical items and
          services within the last six years from the filing of the complaint where
          Defendant:

          (1) is the primary payer as it is contractually obligated to pay for the medical
          items and services that are required to be covered by the Medicare Beneficiaries’
          liability, no-fault insurance or a workman compensation plan; and

          (2) failed to pay or reimburse Medicare Advantage Organizations, First Tier
          Entities, or their assignees, for the medical items and services that were related to
          Medicare Beneficiaries’ claims.

          This class definition excludes (a) Defendant, their officers, directors, management,
          employees, subsidiaries, and affiliates; and (b) any judges or justices involved in this
          action and any members of their immediate families.

                                       CLASS ALLEGATIONS

                                   National Damages Relief Classes

          97.     This matter is brought as a class action pursuant to Federal Rule of Civil Procedure

   23, on behalf of all Class Members or their assignees who paid for their beneficiaries’ medical

   expenses, when Defendant should have made those payments as primary payers and should have

   reimbursed the Class Members either because of a settlement or contractual obligation or both.

          98.     As discussed in this class action Complaint, Defendant has failed to provide

   primary payment and/or appropriately reimburse the Class Members for money they were

   statutorily required to pay under the MSP provisions. This failure to reimburse applies to Plaintiff,

   as the rightful assignee of those organizations that assigned their recovery rights to Plaintiff, and

   to all Class Members. Class action law has long recognized that, when a company engages in

   conduct that has uniformly harmed a large number of claimants, class resolution is an effective

   tool to redress the harm. This case, thus, is well suited for class-wide resolution.



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          99.      Class Members have been unlawfully burdened with paying for the medical costs

   of their beneficiaries when the law explicitly requires Defendant to make such payments. The

   Medicare Act and its subsequent amendments were constructed to ensure an efficient and cost-

   effective system of cooperation and communication between primary and secondary payers.

   Defendant’s failure to reimburse Plaintiff and Class Members runs afoul of the Medicare Act and

   has directly contributed to the ever-increasing costs of the Medicare system.

          100.     The Classes are properly brought and should be maintained as a class action under

   Rule 23(a), satisfying the class action prerequisites of numerosity, commonality, typicality, and

   adequacy shown as follows:

                a. Numerosity: Joinder of all members is impracticable. Upon information and

                   belief, the Classes are comprised of hundreds of MAOs, first tier entities,

                   downstream entities, or their assignees throughout the United States of America

                   and its territories, who failed to provide primary payment or were not reimbursed

                   by Defendant after either (1) Defendant entered into a settlement with a Medicare

                   beneficiary enrolled in a Medicare Advantage plan administered by an MAO or (2)

                   failing to provide for primary payment for accident related expenses pursuant to

                   insurance policy which provided no-fault coverage. Thus, the numerosity element

                   for class certification is met.

                b. Commonality: Questions of law and fact are common to all members of the

                   Classes. Specifically, Defendant’s misconduct was directed at all Class Members,

                   their affiliates, and those respective organizations that contracted with CMS and

                   were identified as “secondary payers” by Medicare Part C. Defendant failed to

                   make reimbursement payments, report settlements or its ORM involving clients



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              who were Medicare beneficiaries, and ensure that Medicare remained a secondary

              payer, as a matter of course. Thus, all Class Members have common questions of

              fact and law, i.e., whether Defendant failed to comport with their statutory duty to

              pay or reimburse the assignors pursuant to the MSP provisions. Each Class

              Member shares the same needed remedy, i.e., reimbursement. Plaintiff seeks to

              enforce their own rights, as well as the reimbursement rights of the Class Members,

              for medical payments made on behalf of their Medicare Part C beneficiaries, as a

              result of Defendant’s practice and course of conduct in failing to make primary

              payment or properly providing appropriate reimbursement.

           c. Typicality: Plaintiff’s claims are typical of the Class Members’ claims, as all have

              been damaged in the same manner. Plaintiff’s and the Class Members’ claims have

              the same essential characteristics, arise from the same course of conduct, and share

              the same legal theory. As the putative class representative, Plaintiff possesses the

              same interests and suffered the same injury as the other Class Members, which

              demonstrates a legally sufficient nexus between Plaintiff’s claims and the Class

              Members’ claims. Plaintiff’s claims are typical of the Class Members’ claims because

              Defendant failed to make primary payments or appropriately reimburse the

              Assignors for Enrollees’ accident-related medical expenses, which it was obligated to do

              by the settlement agreements and its no-fault insurance policies it issued to the

              Enrollees. Plaintiff’s claims are typical because Plaintiff, like the Class Members,

              has a right to relief for Defendant’s failure to make primary payments, or reimburse

              Plaintiff and Class Members for conditional payments of the Enrollees’ accident-related

              medical expenses. Plaintiff’s and the Class Members’ claims are based on the same



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                  statutes, regulations, legal theories and factual situations. Defendant’s business

                  practices, acts and omissions are materially the same with respect to Plaintiff’s and

                  the Class Members’ claims, as will be Defendant’s legal defenses. Plaintiff’s claims

                  are, therefore, typical of the Classes.

              d. Adequacy: Plaintiff will fairly and adequately represent and protect the interests

                  of the Class. Plaintiff’s interests in vindicating these claims are shared with all

                  members of the Classes and there are no conflicts between the named Plaintiff and

                  the putative Class Members. In addition, Plaintiff is represented by counsel who

                  are competent and experienced in class action litigation and also have no conflicts.

                  In fact, two courts have already concluded that Plaintiff’s counsel is “willing and

                  able to take an active role as class representative and advocate on behalf of all class

                  members.” E.g., MSPA Claims 1, LLC v. Ocean Harbor Cas. Ins., 2017 WL 477124

                  (Fla. 11th Cir. Ct. 2017); MSPA Claims 1, LLC v. IDS Property Cas. Ins. Co., Case

                  No. 2015-27940 CA-01 (Fla. 11th Cir. Ct. 2017).

              e. Ascertainability: Locating members of the Class would be relatively simple, since

                  CMS maintains records of all MAOs, i.e., those entities that have contracted with

                  CMS pursuant to Medicare Part C, and providing notice to such entities would

                  could be accomplished by direct communication.

          101.    The Classes are properly brought and should be maintained as a class action under

   Rule 23(b)(3) because a class action in this context is superior. Pursuant to Rule 23(b)(3), common

   issues of law and fact predominate over any questions affecting only individual members of the

   Classes. Defendant, whether deliberately or not, failed to make required payments under the MSP

   provisions and failed to reimburse Class Members and those organizations that assigned their



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   recovery rights to Plaintiff, thus depriving both Plaintiff, as assignee of the right to recovery, and

   Class Members of their statutory right to payment and reimbursement.

          102.    It is the custom and practice of the CMS and primary plans to maintain records in

   a detailed electronic format. Based on these practices, Plaintiff maintains a reasonable

   methodology for generalized proof of Class-wide impact, using a software system (the “MSP

   System”) designed and developed by Plaintiff and its counsel. The MSP System captures,

   compiles, synthesizes and analyzes large amounts of data in order to identify claims for

   reimbursement of conditional payments. This case will not present manageability problems as

   compared to non-electronic data driven class actions. There is no need for a fact-specific individual

   analysis of intent or causation, and damages will be calculated based upon the total fee-for-service

   amounts associated with the payments made on behalf of Enrollees. Plaintiff is capable of using

   the MSP System to identify and quantify Class Members’ claims, as it has done for its own

   claims. Two other courts have recognized the MSP System as a viable method to prove damages

   in substantially similar cases wherein the plaintiff, like in this case, asserted an MSP private cause

   of action breach of contract causes of action. MSPA Claims 1, LLC v. Ocean Harbor Cas. Ins.,

   2017 WL 477124 (Fla. 11th Cir. Ct. 2017); MSPA Claims 1, LLC v. IDS Property Cas. Ins. Co.,

   Case No. 2015-27940 CA-01 (Fla. 11th Cir. Ct. 2017).

          103.    Proceeding with a damages class is superior to other methods for fair and efficient

   adjudication of this controversy because, inter alia, such treatment will allow a large number of

   similarly-situated assignors to litigate their common claims simultaneously, efficiently, and

   without the undue duplications of effort, evidence, and expense that several individual actions

   would induce; individual joinder of the individual members is wholly impracticable; the economic

   damages suffered by the individual class members may be relatively modest compared to the



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   expense and burden of individual litigation; and the court system would benefit from a class action

   because individual litigation would overload court dockets and magnify the delay and expense to

   all parties. The class action device presents far fewer management difficulties and provides the

   benefit of comprehensive supervision by a single court with economies of scale.

           104.    Administering the proposed Classes will be relatively simple. Defendant has either

   entered into settlement agreements with claimants who are also Medicare beneficiaries or provided

   no-fault coverage to Medicare claimants pursuant to its insurance policy.          Once that data

   identifying these settlement agreements and insurance policies are compiled and organized,

   Plaintiff can determine which of the policy holders were Medicare beneficiaries at the applicable

   time. Then, using the database, Plaintiff and the Class Members can identify those payments made

   for medical treatment where the Defendant was (1) the primary payers and (2) for which

   reimbursement was not made. Indeed, two Florida state classes were recently certified in MSPA

   Claims 1, LLC v. Ocean Harbor Cas. Ins., 2017 WL 477124 (Fla. 11th Cir. Ct. 2017) and MSPA

   Claims 1, LLC v. IDS Property Cas. Ins. Co., Case No. 15-27940-CA-21 (Fla. 11th Cir. Ct. 2017)

   using the same methodology.

                                          CAUSES OF ACTION

           105.    The basis for Plaintiff’s claims is as a result of the Defendant’s failure to pay or

   reimburse under which Medicare payments are secondary and reimbursable if any other insurer –

   even a tortfeasor’s liability insurer–is liable.

           106.    Defendant is a primary payer that that should have paid for the same items and/or

   services that were paid or otherwise financially absorbed by Plaintiff’s Assignors. These items and

   services were incurred by the MAO and its in-network Medicare Part C providers as secondary

   payers because the primary payer should have paid for these items and/or services or should have


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   otherwise reimbursed the secondary payer which are Plaintiff’s Assignors.

          107.     In addition to having been beneficiaries with the Class Members at the time of

   accidents, Class Members’ beneficiaries were also covered by a medical payments policy issued

   by Defendant.

          108.     Defendant failed to appropriately reimburse the Class Members.

          109.     Defendant issued medical payments policies and collected premiums.

          110.     The Class Members advanced Medicare payments on behalf of their beneficiaries

   for medical treatment and supplies for which Defendant was responsible as primary payers.

   Defendant was primarily responsible by virtue of entering into settlements with Medicare

   beneficiaries enrolled in a Medicare Advantage plan administered by a Class Member or providing

   no fault coverage pursuant to an insurance policy. Class Members paid for the beneficiaries’

   Medicare Services when Defendant had the primary obligation to do so. Accordingly, Plaintiff

   seeks damages on behalf of itself and similarly situated assignors and their assignees for

   Defendant’s violation of the MSP provisions.

          111.     The Defendant is liable since (1) the Defendant is a primary plan; (2) the

   Defendant's failed to provide for primary payment or appropriate reimbursement; and (3) caused

   damages as a result of having a secondary payer cover the financial costs of the items or services

   that were to be paid by the primary payer.

                                             COUNT I
                      Private Cause of Action Under 42 U.S.C. § 1395y(b)(3)(A)
                                            Both Classes

          112.     Plaintiff incorporates by reference paragraphs 1-111 of this Complaint.

          113.     Plaintiff asserts a private cause of action pursuant to 42 U.S.C. § 1395y(b)(3)(A)

   on behalf of itself and all similarly-situated assignors.



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          114.     The elements of a cause of action under 42 U.S.C. § 1395y(b)(3)(A) are: (1) the

   defendant’s status as a primary plan; (2) the defendant's failure to provide for primary payment or

   appropriate reimbursement; and (3) damages. Humana Med. Plan, Inc. v. W. Heritage Ins. Co.,

   832 F.3d 1229, 1239 (11th Cir. 2016).

          115.     Defendant’s liability insurance policies are primary plans, and Defendant was the

   primary payer, under 42 U.S.C. § 1395y(b)(2), because Defendant entered into a settlement

   agreement with Enrollees to pay for their accident-related expenses. Defendant is liable if they

   ever had a responsibility to make a payment, even if they subsequently paid out the maximum

   benefits under the policies.

          116.     Defendant is also a primary payer that that should have paid for the same items

   and/or services that were paid or otherwise financially absorbed by Plaintiff’s assignor. These

   items and services were incurred by the MAO and its in-network Medicare Part C providers as

   secondary payers because the primary payer should have paid for these items and/or services or

   should have otherwise reimbursed the secondary payer which are Plaintiff’s assignors.

          117.     In addition to having been beneficiaries with the Class Members at the time of

   accidents, Class Members’ beneficiaries were also covered by a medical payments policy issued

   by Defendant.

          118.     Instead, the Class Members and entities that have assigned their recovery rights to

   Plaintiff paid for those items and services as part of providing Medicare benefits.

          119.     Because Defendant was the primary payer, the Class Members’ payment of the

   accident-related medical expenses were conditional payments, which ordinarily are made by

   Medicare providers for services not covered by other applicable insurance.

          120.     Defendant was required to timely reimburse the assignors for their conditional



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   payments of the Enrollees’ accident-related medical expenses. See 42 U.S.C. § 1395y(b)(2)(ii); 42

   C.F.R. § 411.22(b)(3); MSP Recovery, LLC v. Allstate Ins. Co., 835 F.3d 1351, 1355 (11th Cir.

   2016). Defendant failed to do so.

          121.    Because Defendant failed to reimburse Plaintiff and the Class Members, Plaintiff

   and the Class Member suffered money damages.

          122.    Defendant has derived substantial profits by placing the burden of financing

   medical treatments for their policy holders upon the shoulders of the assignors. Not only did the

   Defendant avoid having to pay for medical expenses it was otherwise obligated to pay, the

   Defendant took advantage of the less expensive costs passed on to Medicare patients.

          123.    Therefore, Plaintiff and the Class Members may avail themselves to the MSP

   private cause of action when a primary plan fails to make primary payment or to reimburse the

   assignors' secondary payment.

          124.    In this case, Defendant failed to administratively appeal the assignors’ right to

   reimbursement within the administrative remedies period on a class wide basis. Defendant,

   therefore, are time-barred from challenging the propriety or amounts paid.

          125.    Plaintiff, for itself and on behalf of the Class, brings this claim pursuant to 42

   U.S.C. § 1395y(b)(3)(A), to recover double damages from Defendant for its failure to make

   appropriate and timely reimbursement of Plaintiff’s and Class Members’ conditional payments of

   their Enrollees’ accident-related medical expenses.

                                          COUNT II
       Direct Right of Recovery Pursuant to 42 C.F.R. § 411.24(e) for Breach of Contract
                       (Only for Contractual Obligation Class Members)

          126.    Plaintiff incorporates by reference paragraphs 1-111 of this Complaint.

          127.    The Assignors are subrogated the right to recover primary payment from Defendant



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   for Defendant’s breach of contract with their insured, pursuant to the MSP provisions. Specifically,

   Defendant was contractually obligated to pay for medical items and services arising out of an

   accident, and Defendant failed to meet that obligation. This obligation was, instead, fulfilled by

   Plaintiff and the Class Members. Under the MSP provisions, Plaintiff is permitted to subrogate the

   enrollee/insured’s right of action against Defendant. See 42 C.F.R. § 411.26.

          128.    Plaintiff complied with conditions precedent to the institution of this action, to the

   extent applicable.

          129.    Defendant failed and/or refused to make complete payments of the Enrollees’

   accident-related expenses as required by its contractual obligations.

          130.    Defendant failed to pay each enrollee’s covered losses, and Defendant had no

   reasonable proof to establish that it was not responsible for the payment.

          131.    Defendant’s failure to pay the medical services and/or items damaged Plaintiff and

   the Class Members as set forth herein. Plaintiff and the Class Members processed medical

   expenses and are entitled to recover up to the statutory policy limits for each enrollee’s medical

   expenses related to the subject accidents, pursuant to their agreements with CMS and the provider

   of services.

                                       JURY TRIAL DEMAND

          132.    Plaintiff demands a trial by jury on all of the triable issues within this pleading.

                                       PRAYER FOR RELIEF

          133.    WHEREFORE, Plaintiff, individually and on behalf of the Class Members

   described herein, prays for the following relief:

              a. find that this action satisfies the prerequisites for maintenance of a class action
                 pursuant to Federal Rules of Civil Procedure 23(a) and (b)(3), and certify the
                 respective Class;



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             b. designate Plaintiff as representative for the respective Class and Plaintiff’s
                undersigned counsel as Class Counsel for the respective Class; and

             c. issue a judgment against Defendant that:

                        i.     grants Plaintiff and the Class Members a reimbursement of double
                               damages for those moneys the Class is entitled to under 42 U.S.C. §
                               1395y(b)(3)(A);

                        ii.    grants Plaintiff and the Class Members a reimbursement of damages
                               for those moneys the Class is entitled to pursuant to their direct right
                               of recovery for breach of contract within Count II;

                        iii.   grants Plaintiff and the Class Members pre-judgment and post-
                               judgment interest consistent with the statute; and

                        iv.    grants Plaintiff and the Class Members such other and further relief
                               as the Court deems just and proper under the circumstances.


   Dated: January 19, 2018.                            Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

          I CERTIFY that a true and correct copy of this motion was electronically filed with the Clerk

   of the Court via CM/ECF on this 19th day of January 2018. I also certify that the foregoing was served

   on all counsel or parties of record on the attached Service List either via transmission of Notices of

   Electronic Filing generated by CM/ECF or some other authorized manner for those counsel or parties

   who are not authorized to receive electronic Notices of Filing.

                                                                 /s/ Frank C. Quesada



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